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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                          NORTHERN DIVISION AT COVINGTON
                           CASE NO. 2:22-CV-00026-DLB-CJS

MARIO KIRKENDALL                                                                  PLAINTIFF

v.

BOONE COUNTY BOARD OF EDUCATION                                                  DEFENDANT


        ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


       Upon the Motion of the Defendant, Boone County Board of Education, and the Court

being otherwise fully advised and informed, IT IS HEREBY ORDERED that Defendant’s

Motion for Summary Judgment be and is granted as there are no genuine issues of material

fact and Defendant is entitled to judgment as a matter of law.

       IT IS SO ORDERED.



       Date:
                                                  Hon. David Bunning
                                                  United States District Judge
